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 UNITED                STATES                   DISTRICT                        COURT
 EASTERN                DISTRICT                           OF        NEW          YORK
                                                                                                                             -X

 Yong          Woo        Choi,                    individually                               and

 on      behalf                of          all             those                similarly

 situated,                                                                                                                              STIPULATION                   EXTENDING
                                                                   Plaintiff,                                                        DEFENDANTS'                      TIME             TO
                                                                                                                                     ANSWER             COMPLAINT
                                                 -against-
                                                                                                                                                  20-CV-857

 Rausch,                Sturm,                     Israel,                      Enerson                &     Hornik,

 LLP,          d/b/a                Rausch                     Sturm,                 Galaxy               Asset
  Purchasing,                             LLC            and         Worldwide                       Asset
  Purchasing                        II,            LLC,


                                                                   Defendant                   (s )
                                                                                                                             -X




                           Plaintiff,                                by         her         attorney,                   David             M.      Barshay,                 Esq.         and



defendants,                         by           its           attorney                     Arthur             Sanders,                   Esq.,         agree              as     follows:




        1.     That              defendants'                                    time            to           answer               the          complaint                   is          extended   to

               April              3,  2020.




  Dated:               New          City,                   NY
                       March               10,              2020




    BARSHAY                  SANDERS,                           PLLC                                               BARRON                 &    NEWBURGE               R,        p-c.




       DJvid            M.          Barshay,                         Esq                                           Arthur                 Sanders,               Esq.

   Attorneys                        for                Plaintiff                                                   Attorneys                      for        defendant

   100          Garden                    City              Plaza,                 Ste.         500                    30    South             Main          Street

      Garden             City,                   NY            11530                                                   New        City,           NY     10956
